 Case 2:18-cv-09491-FMO-AS Document 32 Filed 02/21/19 Page 1 of 3 Page ID #:173



1    SAMUEL R. MAIZEL (Bar No. 189301)
     samuel.maizel@dentons.com
2
     TANIA M. MOYRON (Bar No. 235736)
3    tania.moyron@dentons.com
     AHMED (“ANDY”) R. JINNAH (Bar No. 297907)
4
     andy.jinnah@dentons.com
5    DENTONS US LLP
     601 South Figueroa Street, Suite 2500
6
     Los Angeles, California. 90017-5704
7    Telephone: (213) 623-9300
     Facsimile: (213) 623-9224
8
9    ANDREW T. SOLOMON (admitted pro hac vice)
     asolomon@solomoncramer.com
10
     NATHAN B. ROBERTS (admitted pro hac vice)
11   nroberts@solomoncramer.com
12   SOLOMON & CRAMER LLP
     1441 Broadway, Suite 6026
13   New York, New York 10018
14   Telephone: (212) 884-9102
     Facsimile: (516) 368-3896
15
16   Attorneys for Plaintiff Matthew Pliskin,
     as Trustee of the ICPW Nevada Trust
17
18                   UNITED STATES DISTRICT COURT
           CENTRAL DISTRICT OF CALIFORNIA (WESTERN DIVISION)
19
20   MATTHEW PLISKIN, AS TRUSTEE                    Case No.: 2:18-cv-09491-FMO(ASx)
     OF THE ICPW NEVADA TRUST
21
                                                    STIPULATION TO CONTINUE
                 Plaintiff,
22                                                  SCHEDULING CONFERENCE
           -against-
23
     ROBERT GOLDSTEIN and DRG                       Current date: February 28, 2019
24   STRATEGIC, LLC d/b/a/ MERIDIAN                 New date: March 21, 2019
25   GLOBAL,
                                                    [Proposed Order filed concurrently
26               Defendants.                        herewith]
27
28

                                                1
                                                                  STIPULATION TO CONTINUE
 Case 2:18-cv-09491-FMO-AS Document 32 Filed 02/21/19 Page 2 of 3 Page ID #:174



1          The parties, through counsel, submit this Stipulation to continue the scheduling
2    conference currently set for February 28, 2019.
3          1.      On January 18, 2019, the Court issued an Order setting a scheduling
4    conference for February 28, 2019 at 10:00 am. ECF No. 18.
5          2.      On February 11, 2019, the Court issued an (In Chambers) Order Re:
6    Briefing, directing the parties to brief the question of transfer of this action under 28
7    U.S.C. § 1404(a). ECF No. 28. Pursuant to the Order, the parties are to file their
8    memoranda no later than February 18, 2019, and file their responses no later than
9    February 25, 2019.
10         3.      The parties have not made any previous requests to continue the
11   scheduling conference.
12         THEREFORE, the parties stipulate and agree, subject to approval by the Court,
13   as follows:
14         4.      In light of the question of transfer of venue now pending before the
15   Court, a continuance of the scheduling conference will conserve the resources of the
16   Court and the parties. The Court’s resolution of the transfer question may obviate the
17   need for the scheduling conference.
18         5.      The parties respectfully request that the Court continue the scheduling
19   conference to March 21, 2019.
20
21
22
23
24
25
26
27
28

                                                  2
                                                                      STIPULATION TO CONTINUE
 Case 2:18-cv-09491-FMO-AS Document 32 Filed 02/21/19 Page 3 of 3 Page ID #:175



1                                            Respectfully submitted,
2
3    Dated: February 21, 2019                DENTONS US LLP
                                             By: /s/ Ahmed (“Andy”) R. Jinnah
4
                                             Samuel R. Maizel
5                                            Tania M. Moyron
                                             Ahmed (“Andy”) R. Jinnah
6
7                                            SOLOMON & CRAMER LLP
                                             By: /s/ Andrew T. Solomon
8
                                             Andrew T. Solomon (admitted pro hac vice)
9                                            Nathan B. Roberts (admitted pro hac vice)
10
                                             Attorneys for Plaintiff Matthew Pliskin, as
11                                           Trustee for the ICPW Nevada Trust
12
13   Dated: February 21, 2019                LTL ATTORNEYS LLP
14                                           By: /s/ Joe H. Tuffaha
                                             Joe H. Tuffaha
15                                           Prashanth Chennakesavan
16
                                             ADKERSON HAUDER & BEZNEY, P.C.
17                                           By: /s/ Bernie E. Hauder
18                                           Bernie E. Hauder (admitted pro hac vice)

19                                           Attorneys for Defendants Robert Goldstein
20                                           and DRG Strategic, LLC

21
22                     Certification Pursuant to Local Rule 5-4.3.4(a)(2)

23        I attest that all other signatories listed, and on whose behalf the filing is
24   submitted, concur in the filing’s content and have authorized the filing.

25   Dated: February 21, 2019                By: /s/ Nathan B. Roberts
26                                           Nathan B. Roberts

27
28

                                                  3
                                                                      STIPULATION TO CONTINUE
